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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LEROY BROWN                                    :
                                               :
       v.                                      :       CIVIL ACTION NO. 17-4139
                                               :
LEWISGALE HOSPITAL                             :
ALLEGHANY, ET AL.                              :


                                              ORDER



       This 25th day of June, 2018, it is hereby ORDERED that this action is DISMISSED

without prejudice for lack of subject matter jurisdiction. Although Plaintiff asserts “Diversity”

as the basis for jurisdiction, the complaint is devoid of any allegations as to the state of

citizenship of the parties, which is the touchstone for diversity. Plaintiff pleads the addresses of

the respective Defendants, but it is citizenship and not residency that gives rise to federal

diversity jurisdiction. McNair v. Synapse Grp. Inc., 672 F.3d 213, 219 n.4 (3d Cir. 2012). This

dismissal is without prejudice, but counsel is cautioned that even if diversity of citizenship can

be adequately pleaded, Plaintiff would nonetheless need to establish personal jurisdiction over

the Defendants. Daimler AG v. Bauman, 134 S. Ct. 746 (2014); Walden v. Fiore, 134 S. Ct.

1115 (2014). If, as implied by the complaint, the defendant hospital and health care center are

located in Virginia, and if the medical care that gives rise to this case was rendered in Virginia,

the Court is hard-pressed to see a good faith basis for assertion of either general or specific

jurisdiction. As to Defendants Jeffrey Turner and Connie Hylton, a second and independent
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basis for dismissal is failure to prosecute, inasmuch as Plaintiff, having failed to accomplish

service upon them, has taken no action since December 8, 2017.




                                                            /s/ Gerald Austin McHugh
                                                      United States District Judge
